
PER CURIAM.
Appellants seek review of an adverse final judgment rendered in favor of appel-lee. The principal question preserved on appeal is the sufficiency of the evidence to support the judgment.
In our review of the record we have given due consideration to the applicable appellate principle that a judgment of the trial court reaches the appellate court clothed with a presumption of correctness. Our review of the record reveals that although the testimony is conflicting, there is substantial evidence to support the jury’s verdict and judgment thereon. It is not the province of this court to substitute its judgment for that of the trier of the facts. These findings will not be disturbed in the absence of a clear showing that the trial court committed error or that the evidence demonstrates that the conclusions *459reached are erroneous. The other issues raised by appellants have been considered and are likewise considered not to be the basis for reversal.
The judgment appealed is accordingly affirmed.
WIGGINTON, C. J., and JOHNSON and SPECTOR, JJ., concur.
